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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                                 :
                                            :
              Plaintiff,                    :       Civil Action No. 1:20-cv-3761(TNM)
                                            :
       v.                                   :
                                            :
FEDERAL BUREAU OF                           :
PRISONS and UNITED                          :
STATES PAROLE COMMISSION,                   :
                                            :
              Defendants.                   :


            PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS

       Plaintiff, John Newman, pursuant to Local Civil Rule 7(h) submits this statement of

undisputed material facts in support of this cross-motion for summary judgment in this case.

   1. Manuel Antonio Carlos Veciana Blanche (“Veciana”) was convicted of two felony drug

       charges in the Federal District Court for the Southern District of New York in Case No.

       74 CR 7 and on 13 March 1974 was sentenced to seven years of incarceration with three

       years of Special Parole to “commence upon the expiration of confinement.” Compl. Ex.

       5, ECF No. 1-1 at p. 41.

   2. Veciana was under the supervision of the United States Attorney General or his designee

       (in this case the Bureau of Prisons and the Parole Commission) under the Judgment and

       Commitment entered in Case No. 74 CR 7 for ten years until 13 March 1984. Id.

   3. The National Archives and Records Administration (“NARA”) maintains a facility at

       Suitland, Maryland, known as the Washington National Records Center (“WNRC”).

       Hardway Decl. ¶ 4, Ex. A. The WNRC is the first place to which retired agency records


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   are transferred and most of the records held at the facility remain under the control of the

   transferring agency. Id.

4. When a record is transferred by an agency to the WNRC, the transferring agency

   generates a Records Transmittal and Receipt, Standard Form 135 (“SF 135”), some of

   which have a box list attached. Id.; Thornton Decl. ¶ 20, ECF No. 17-4 at p. 5; Def. Ex.

   D, ECF No. 17-8.

5. Before records transferred to WNRC are destroyed, WNRC sends the transferring agency

   a Notice of Eligibility for Disposal from NARA that notifies the transferring agency that

   the term of retention of the file is expiring under the relevant Records Disposition

   Schedule and requesting whether the agency wants the files destroyed. Def. Ex. B, ECF

   No. 17-6 at p. 5; Hardway Decl. ¶6.; Thornton Decl. ¶ 31, ECF No. 17-4 at p. 7.

6. WNRC maintains copies of the SF-135’s organized by Record Group and year. Hardway

   Decl. ¶ 7, Ex. B.

7. NARA holdings are organized into numbered Record Groups comprising the records of a

   major government entity, usually a bureau or an independent agency. Id., Exs. B & C.

8. USPC has a separate unique Record Group number, RG 438. Id.

9. SF-135’s with any attached box list maintained by WNRC are available in hard copy files

   and are open to the general public for research and review when the facility is not closed

   due to Covid. Id. ¶ 10, Ex. A.

10. WNRC is currently closed to the public due to Covid restriction but remains open to

   government employees with business to conduct there. Id.

11. Plaintiff’s request to the USPC included request numbered “J” that provided: “If you

   claim that a record responsive to requests A to I above has been destroyed in whole or in

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   part, please provide any and all records of that destruction, including but not limited to

   records indicating the date of destruction, a description of exactly what was destroyed,

   any cited authority for the destruction, and any identifying information regarding the

   person(s) who accomplished and recorded the destruction.” Compl. ¶ 18, ECF 2-1 at p.

   6; Compl. Ex. No. 7, ECF 1-1 at p. 49.

12. Defendant USPC has searched its own in-house hardcopy records for a copy of a

   responsive SF-135, but has not searched the available SF-135’s at the WNRC to

   determine whether there exists a copy referring to a transfer of Veciana’s files to that

   facility by Defendant. Thornton Decl. ¶¶ 28, 29, 30 & 31, ECF No. 17-4 at p. 7.

13. WNRC can only search for files using the transfer number provided to the referring

   agency on the SF-135. Thornton Decl. ¶ 29, ECF No. 17-4 at p. 7; Hardway Decl. ¶ 14,

   Ex. A.

14. In 1985 USPC filed a Request for Records Disposition Authority with NARA in Job No.

   NI-438-85-02. This Request pertains to USPC machine readable files including a master

   file of parole decision histories. The master file, was a database which included “all

   individual paroling considerations.” Each record in the database contained approximately

   forty items including parole decisions. Each record in the database was identified by the

   parolee’s register number. The RDA designated the master file a permanent record.

   Hardway Decl. ¶ 15 & Ex. D.

15. NCI-438-85-02 remained in effect until superseded in part by NI-438-00-001 which

   became effective in October of 2000 and reflects a change of name change from

   microfilm to “ASCII flat file.” The name of the system was changed from “Parole

   Decision History” to “Decision Reporting and Monitoring System.”          The new SAS

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   system convertible to an ASCII flat file is a database that includes: “Bureau of Prisons

   registration number, offense, sentencing date, sentence length, parole decision parameters

   … and parole hearing results.” This USPC database was designated a permanent record

   and USPC is required to transfer a copy to NARA every 5 years. This RDA remains in

   effect. Hardway Decl. ¶ 16 & Exs. E & F.

16. On 5 January 2021, after the filing of the complaint in this case, USPC wrote to counsel

   for Newman reporting that a search had been conducted “for the following names in our

   records: Manuel Antonio, Manuel Carlos, Manuel Veciana and Manuel Blanche.” The

   letter also attached a printout of the search conducted in “our search engine for both our

   current system and our Legacy system.” The printout provided with the letter indicated

   that only the four name variations reported in the letter were searched by USPC.

   Hardway Decl. ¶3 & Ex. G.

17. USPC’s EntelliTrak system’s record database only contains records of files “that the

   USPC had any record of on or after June 1, 2018” and would not have included records

   from the period when Veciana’s files would normally have been transferred to WRNC.

   Thornton Declaration ¶ 13, ECF No. 17-4 at p. 3.

                                        Respectfully submitted,

                                        /s/ Dan L. Hardway
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Dated: 20 November 2021

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